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                     United States Court of Appeals
                                       For the First Circuit
                                          _____________________

      No. 16-2010

                                            JUDITH TOMPSON,

                                             Plaintiff, Appellant,

                                                       v.

              NEW HAMPSHIRE DEPARTMENT OF HEALTH AND HUMAN SERVICES,

                                            Defendant, Appellee.
                                            __________________

                                                    Before

                                         Lynch, Kayatta and Barron,
                                              Circuit Judges.
                                           __________________

                                                JUDGMENT

                                         Entered: December 5, 2017

               Appellant seeks review of the district court's dismissal of the underlying action on res
      judicata and Rooker-Feldman grounds. We have reviewed relevant portions of the record. The
      district court properly concluded that the action was barred by res judicata principles under New
      Hampshire law, see Appeal of Morrissey, 165 N.H. 87, 92 (2013), and that the action, therefore,
      was precluded under 28 U.S.C. § 1738 (requiring federal courts to give state court judgments the
      same preclusive effect in federal court as would be given in the courts of the state in which the
      judgment was rendered). See In re Sonus Networks, Inc., 499 F.3d 47, 56 (1st Cir. 2007) (de novo
      review of res judicata dismissal).

              Moreover, the district court correctly concluded that Appellant's federal action also was
      barred by the Rooker-Feldman doctrine, which prevents federal district courts from exercising
      jurisdiction over "cases brought by state-court losers complaining of injuries caused by state-court
      judgments rendered before the district court proceedings commenced and inviting district court
      review and rejection of those judgments." Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544
      U.S. 280, 284 (2005); see also Puerto Ricans For Puerto Rico Party v. Dalmau, 544 F.3d 58, 66
      (1st Cir. 2008) (de novo review for Rooker-Feldman dismissal).

             AFFIRMED.
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                                               By the Court:

                                               /s/ Margaret Carter, Clerk

      cc:
      Judith Tompson
